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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *
                                                                Civil No. RDB-12-3042
         v.                                       *             Criminal No. RDB-09-219

TODD BELL                                         *


*   *    *    *   *   *    *   *    *   *    *   *    *    *     *   *   *      *   *   *   *     *



                          MEMORANDUM OPINION AND ORDER

        Todd Bell was convicted and sentenced in this Court in 2010. On October 12, 2012, he

collaterally attacked his conviction and sentence by way of a motion to vacate pursuant to 28

U.S.C. § 2255, and this motion is now pending before this Court. In conjunction with his motion

to vacate, Bell requested appointment of counsel. Upon reviewing Bell’s request, this Court

finds that Bell does not require appointment of counsel.

        Bell’s motion to vacate constitutes an independent civil proceeding. Bell has no

constitutional right to appointed counsel. See Pennsylvania v. Finely, 481 U.S. 551, 555 (1987).

Instead, the matter is left entirely to the Court’s discretion. Rule 8 of the Rules Governing

Section 2255 proceedings for the United States District Courts provides that counsel should be

appointed for a movant who qualifies for appointment of counsel under 18 U.S.C. §3006A(g) if

the Court finds that an evidentiary hearing is required to determine whether the challenged

sentence should be vacated. See Rule 8(c) of the Rules Governing Section 2255 Proceedings.

However, where no hearing is required, the appointment of counsel is not warranted. See Oliver

v. United States, 961 F.2d 1339, 1343 (7th Cir. 1992) (explaining that a criminal defendant has

no statutory right to counsel when the Court determines that an evidentiary hearing is not

required to settle a motion to vacate pursuant to 28 U.S.C. § 2255).
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       At this early stage of review, Bell is able to articulate his claims, and his ineffective

assistance of counsel claim is not unduly complex. See id. (explaining that a criminal

defendant’s asserting ineffective assistance of counsel under the Strickland test has a

“straightforward nature”). Thus, there is no immediate need for counsel, and the motion will be

DENIED without prejudice.

       Accordingly, it is this 24th day of September, 2013, by the United States District Court

for the District of Maryland, hereby ORDERED that:

       1.      Bell’s request for appointment of counsel is DENIED; and

       2.      The Clerk MAIL a copy of this Order to Todd Bell and ALSO PROVIDE a

               copy of this Order to Assistant United States Attorney Bonnie S. Greenberg



                                                                      /s/

                                                      Richard D. Bennett
                                                      United States District Judge
